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                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANPOLIS DIVISION

 KATHY MCCARTER f/k/a                          )
 KATHY COFFMAN,                                )
                                               )
        Plaintiff,                             )       Case No. 14-cv-1372-JMS-MJD
                                               )
 v.                                            )       Hon. Judge Jane Magnus-Stinson
                                               )
 CREDIT BUSINESS SERVICES, INC.,               )
                                               )
        Defendant.                             )


                     STIPULATION OF DISMISSAL WITH PREJUDICE

        Plaintiff, Kathy McCarter f/k/a Kathy Coffman, and Defendant, Credit Business Services,

 Inc., by and through their respective counsel hereby stipulate to dismiss the within complaint with

 prejudice, all matters in controversy having been resolved to the mutual satisfaction of the parties.



 KATHY MCCARTER                                                CREDIT BUSINESS SERVICES, INC.
 F/K/A KATHY COFFMAN

 By /s/ David B. Leibowitz                                     By /s/ J. Richard Moore

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                                   CERTIFICATE OF SERVICE

        I hereby certify that, on February 24, 2015, a copy of the foregoing Stipulation of Dismissal

 With Prejudice, was filed electronically. Notice of this filing will be sent by operation of the

 Court’s electronic filing system to all parties indicated on the electronic filing receipt.



                                                                /s/ David B. Leibowitz
                                                                Attorney for Plaintiff

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